       Case 5:15-cv-01750-AKK Document 194 Filed 10/01/19 Page 1 of 1                 FILED
                                                                             2019 Oct-01 PM 01:55
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                 UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                    NORTHEASTERN DIVISION

TOMMY LINDSEY, et al.,                   )
                                         )
      Plaintiffs,                        )
                                         )             Civil Action Number
v.                                       )             5:15-cv-01750-AKK
                                         )
3M COMPANY, et al.,                      )
                                         )
      Defendants.

                                    ORDER

     The Joint Motion to Extend Certain Pretrial Deadlines, doc. 191, is

GRANTED. The pretrial deadlines are SET as follows:

     Fact Discovery cut-off: March 1, 2020

     Plaintiffs’ expert disclosures: January 6, 2020

     Defendants’ expert disclosures: February 17, 2020

     Expert Discovery cut-off: March 30, 2020

     Plaintiffs’ Class Certification Motion: December 3, 2019

     Defendants’ Response to Certification: January 6, 2020

     Plaintiffs’ Reply to Class Certification: January 20, 2020

     Dispositive Motions: April 30, 2020

     DONE the 1st day of October, 2019.

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                                              ABDUL K. KALLON
                                       UNITED STATES DISTRICT JUDGE
